Case 2:05-cr-20112-.]DB Document42 Filed 06/30/05 Pagelon Page|D 5

IN THE UNITED sTATEs DISTRICT cOURT may D°c`
FOR THE wEsTERN DIsTRIcT 0F TENNESSEE _
wEsTERN DIvIsIoN 05 JU" 30 H 3'55
UNITED sTATEs OF AMERICA CUH§USFNHKHCU}H
' WOF?‘~$ ?MPH$S

Plaintiff,
Cr. NO. 05-20112-B
vs.

RAFAT JAMAL MAWLAWI,

Defendant.

 

ORDER GRANTING CONTINULNCE

 

The United States has moved for a continuance of June 30,

2005.

For good cause shown, it is so ORDERED this §CJ day of June,

2005.

 

. ANIEL BREEN \
Uni d States District Judge

This doctment entered on the docket sheet ln simle ca
with R.lle 55 and/or 32Ib) FRCrP on _J_l_l_`g§_

 

 

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Honorable J. Breen
US DISTRICT COURT

